                                                                                            February 2015

                                           DAVID ALLEN
                                         CAREER SUMMARY


                                             EDUCATION

Del Mar Junior College, Corpus Christi, Texas: Associate in Arts Degree in Sciences.

University of Texas, Austin: Bachelors Degree in Business Administration, with Minors in Biology and
Chemistry.

                                             EXPERIENCE

1965 – 1973. Kansas City Zoo (KCZ). While attending college, I worked summers as a Municipal
Management Intern in the Animal Care Division. After graduation, I was employed full-time as an Animal
Caretaker with Curatorial duties.

Trainer – African Elephants.

1973 – 1988 - Cheyenne Mountain Zoo Foundation (CMZF), Colorado Springs, CO. Assistant Director,
Associate Director, and Executive Director. Responsible for all aspects of zoological park management,
to include planning, goals and objectives, animal care and veterinary services, education and
conservation programs, visitor services, finance, and staff supervision.

1988 – 2007 – Blank Park Zoo (BPZ), Des Moines, Iowa. Zoo Director, Des Moines Parks and
Recreation Department. Responsible for the overall management and development of the Zoo and
coordination with the Blank Park Zoo Foundation (BPZF).

                                    PROFESSIONAL ACTIVITIES

While actively employed, I was a Professional Fellow member of the Association of Zoos and Aquariums
(AZA). The AZA is a national nonprofit organization that accredits zoos and aquariums that have met
rigorous standards for governance, administration, finance, education and conservation programs, visitor
services, public, animal and staff safety, and animal care and veterinary services. The AZA also
coordinates the Species Survival Program for conservation of endangered species with corroborating
member institutions.

Served for two years as Vice Chair of the Wildlife Management Committee.

Served as a member and Chair of several Accreditation Visiting Committees, - “the eyes and ears of the
Accreditation Commission”, which conducts on-site reviews of zoos applying for Accreditation with
findings and recommendations to the Commission.

During my tenure at CMZF and BPZ, continuous accreditation was achieved.

December, 2007 - Retired.




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